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                        THE UNITED STATES DISTRICT COURT
                      DISTRICT OF NEW JERSEY CIVIL DIVISION

ROTHSCHILD BROADCAST
DISTRIBUTION SYSTEMS, LLC,
               Plaintiff,
                                                     CIVIL ACTION NO. _______________
        v.

HONEYWELL INTERNATIONAL, INC.,                       JURY TRIAL DEMANDED
               Defendant.



                                          COMPLAINT

        Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Plaintiff” or “Rothschild

Broadcast Distribution Systems”) files this complaint against Defendant Honeywell

International, Inc. (“Defendant” or “Honeywell”) for infringement of U.S. Patent No. 8,856,221

(hereinafter the “`221 Patent”) and alleges as follows:

                                            PARTIES

1.      Plaintiff is a Texas limited liability company with an office at 1400 Preston Road, Suite

400, Plano, Texas 75093.

2.      On information and belief Defendant is a corporation organized and existing under the

laws of the State of Delaware. Upon information and belief, Defendant Honeywell is a New

Jersey corporation with a principal place of business located at 115 Tabor Road, Morris

Plains, New Jersey, 07950 United States. Upon information and belief, Defendant may be served

with process at the same address.

                                JURISDICTION AND VENUE

3.      This action arises under the patent laws of the United States, 35 U.S.C. § 271 et seq.

Plaintiff is seeking damages, as well as attorney fees and costs.
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4.      Jurisdiction is proper in this Court pursuant to 28 U.S.C. §§ 1331 (Federal Question) and

1338(a) (Patents).

5.      On information and belief, this Court has personal jurisdiction over Defendant because

Defendant has committed, and continues to commit, acts of infringement in this District, has

conducted business in this District, and/or has engaged in continuous and systematic activities in

this District.

6.      Upon information and belief, Defendant’s instrumentalities that are alleged herein to

infringe were and continue to be used, imported, offered for sale, and/or sold in the District.

7.      Venue is proper in this District under 28 U.S.C. §1400(b) because Defendant is deemed

to be a resident of this District, Alternatively, acts of infringement are occurring in this District

and Defendant has a regular and established place of business in this District.

                                         BACKGROUND

8.      On October 7, 2014, the United States Patent and Trademark Office (“USPTO”) duly and

legally issued the `221 Patent, entitled “System and Method for Storing Broadcast Content in an

Cloud-Based Computing Environment” after the USPTO completed a full and fair examination.

The ‘221 Patent is attached as Exhibit A.

9.      Rothschild Broadcast Distribution Systems is currently the owner of the `221 Patent.

10.     Rothschild Broadcast Distribution Systems possesses all rights of recovery under the

`221 Patent, including the exclusive right to recover for past, present and future infringement.

11.     The `221 Patent contains thirteen claims including two independent claims (claims 1 and

7) and eleven dependent claims.
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                                       COUNT ONE
                     (Infringement of United States Patent No. 8,856,221)

12.    Plaintiff refers to and incorporates the allegations in Paragraphs 1 - 11, the same as if set

forth herein.

13.    This cause of action arises under the patent laws of the United States and, in particular

under 35 U.S.C. §§ 271, et seq.

14.    Defendant has knowledge of its infringement of the `221 Patent, at least as of the service

of the present complaint.

15.    Upon information and belief, Defendant has infringed and continues to infringe one or

more claims, including at least Claim 1, of the ‘221 Patent by making, using, importing, selling,

and/or offering for media content storage and delivery systems and services covered by one or

more claims of the ‘221 Patent.

16.    Accordingly, Defendant has infringed, and continues to infringe, the `221 Patent in

violation of 35 U.S.C. § 271.

17.    Defendant sells, offers to sell, and/or uses media content storage and delivery systems

and services, including, without limitation, Honeywell security cameras together with the

Honeywell system and Honeywell Home app, and any similar products (“Product”), which

infringes at least Claim 1 of the ‘221 Patent.

18.    The product practices a method of storing (e.g. cloud storage) media content (e.g. live

and recorded video) and delivering requested media content (e.g. view live footage and recorded

clips) to a consumer device. Certain aspects of these elements are illustrated in the screen shots

below and/or in screen shots provided in connection with other allegations herein.
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19.    The defendant’s Product necessarily includes at least one server for hosting and storing

media content for customers. For example, the Product necessarily includes at least one server

(e.g., cloud server) to store recorded security videos.

20.    The at least one server necessarily includes a first receiver configured to receive a request

message including data indicating requested media content (e.g., the server must have

infrastructure to receive a request to store recorded security videos or to stream recorded video

on a smartphone; additionally, the request message must contain data that identifies the video to

be stored or streamed) and a consumer device identifier corresponding to a consumer device

(e.g., the user credentials are used to tie a smartphone and user account to particular cameras and

the videos they produce). In the accused product, the cloud services (including camera view from

cloud) can be accessed from web/mobile application (e.g. Honeywell Home app) by signing in

with correct credentials. Certain aspects of these elements are illustrated in the screen shots

below and/or in screen shots provided in connection with other allegations herein.
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21.    The Product necessarily includes a processor to determine whether the consumer device

identifier corresponds to the registered consumer device (e.g., the server must authenticate a

user’s credentials to ensure that the credentials match those registered with a security camera

which the user would like to access). In the accused product, a user must be a registered user to

access Honeywell cloud services. Certain aspects of these elements are illustrated in the screen

shot below and/or in screen shots provided in connection with other allegations herein.




22.    The Product provides for both media downloads and/or storage, and media streaming. As

per the information available, after successful login, a processor within the Product necessarily

determines whether the request received from a customer is a request for storage (e.g., recording

or storing content) or content (e.g., streaming of media content, live view). Certain aspects of

these elements are illustrated in the screen shot below and/or in screen shots provided in

connection with other allegations herein.
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23.      The server verifies that media content (e.g., specific recording from a specific camera)

identified in the media data of the storage request message (e.g., request to record content) is

available for storage in order to prevent data errors that would result from attempting to store

content that is not available for storage (e.g., the server must verify that a particular security

camera is adequately connected to the internet as to allow for video recording and storage on the

cloud; additionally, a user’s ability to store video is limited to a certain amount of memory usage

based upon their subscription, thus media content may not be available for storage if a user is

already above their memory limit or if he hasn’t subscribed to any service). Also, in the accused

product, the number of cameras supported is based on the activated subscription pack. A user can

also schedule the recording as per his or her requirement. Only events happening during the

scheduled time will be eligible to be recorded on the clouds storage. Certain aspects of these

elements are illustrated in the screen shot below and/or in screen shots provided in connection

with other allegations herein.
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24.     If a customer requests content (e.g., live streaming of media content), then a processor

within the Product necessarily initiates delivery of the content to the customer’s device. The

server will initiate delivery of the requested media content to the consumer device (e.g. stream

live camera feed to a smartphone or tablet or desktop computer) if the request message is a

content request message (e.g. request for live streaming). Certain aspects of these elements are

illustrated in the screen shots below and/or in screen shots provided in connection with other

allegations herein.
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25.    The media data includes time data that indicates a length of time to store the requested

media content (e.g., a user is allowed to store videos for maximum of 30 days as based upon

their subscription level). Certain aspects of these elements are illustrated in the screen shots

below and/or in screen shots provided in connection with other allegations herein.
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26.      The server must first determine whether the requested media content exists prior to

initiating delivery in order to prevent data errors that would result from attempting to transmit

media content that does not exist (e.g., the server must verify that a particular security camera is

adequately connected to the internet as to allow for video recording and streaming). Certain

aspects of these elements are illustrated in the screen shots below and/or in screen shots provided

in connection with other allegations herein.




27.      After the processor determines whether the requested media content is available, it

determines whether there are restrictions associated with the requested media content (e.g.,

subscription level etc.).
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28.       Defendant’s actions complained of herein will continue unless Defendant is enjoined by

this Court.

29.       Defendant’s actions complained of herein is causing irreparable harm and monetary

damage to Plaintiff and will continue to do so unless and until Defendant is enjoined and

restrained by this Court.

30.       Upon information and belief, Defendant has induced, and continues to induce

infringement of the `221 Patent through its customers’ actions, at least as of the service of the

present complaint.

31.      The `221 Patent is valid, enforceable, and was duly issued in full compliance with Title 35

of the United States Code.

32.       A copy of the ‘221 Patent, titled “System and Method for Storing Broadcast Content in a

Cloud-based Computing Environment,” is attached hereto as Exhibit A.

33.      By engaging in the conduct described herein, Defendant has injured Rothschild Broadcast

Distribution Systems and is thus liable for infringement of the `221 Patent, pursuant to 35 U.S.C.

§ 271.

34.       Defendant has committed these acts of literal infringement, or infringement under the

doctrine of equivalents of the `221 Patent, without license or authorization.

35.      As a result of Defendant’s infringement of the `221 Patent, injured Rothschild Broadcast

Distribution Systems has suffered monetary damages and is entitled to a monetary judgment in

an amount adequate to compensate for Defendant’s past infringement, together with interests and

costs.

36.      Plaintiff is in compliance with 35 U.S.C. § 287.
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37.     As such, injured Rothschild Broadcast Distribution Systems is entitled to compensation for

any continuing and/or future infringement of the `221 Patent up until the date that Defendant

ceases its infringing activities.

                                     DEMAND FOR JURY TRIAL

38.         Rothschild Broadcast Distribution Systems, under Rule 38 of the Federal Rules of Civil

Procedure, requests a trial by jury of any issues so triable by right.

                                         PRAYER FOR RELIEF

            WHEREFORE, Plaintiff asks the Court to:

      (a)     Enter judgment for Plaintiff on this Complaint on all cases of action asserted herein;


      (b) Enter an Order enjoining Defendant, its agents, officers, servants, employees, attorneys,

      and all persons in active concert or participation with Defendant who receives notice of the

      order from further infringement of United States Patent No. 8,856,221 (or, in the alternative,

      awarding Plaintiff running royalty from the time judgment going forward);


      (c) Award Plaintiff damages resulting from Defendants infringement in accordance with 35

      U.S.C. § 284;


      (d) Award Plaintiff such further relief to which the Court finds Plaintiff entitled under law

      or equity.
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  DATED April 17, 2019            Respectfully submitted,



                                  /s/Stamatios Stamoulis
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                                  ATTORNEYS FOR PLAINTIFF
